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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE



In re:                                                            Chapter 11

Zohar III, Corp., et al.,1                                        Case No. 18-10512 (KBO)

                                     Debtors.                     Jointly Administered

LYNN TILTON; PATRIARCH PARTNERS
VIII, LLC; PATRIARCH PARTNERS XIV,
LLC; PATRIARCH PARTNERS XV, LLC;
OCTALUNA, LLC; OCTALUNA II, LLC; and
OCTALUNA III, LLC,

                                    Appellants,

                   v.                                             Adversary No. 19-50390 (KBO)
MBIA INC., MBIA INSURANCE
CORPORATION, U.S. BANK, N.A.,
ALVAREZ & MARSAL ZOHAR
MANAGEMENT, CREDIT VALUE
PARTNERS, LP, BARDIN HILL
INVESTMENT PARTNERS F/K/A HALCYON
CAPITAL MANAGEMENT LP,
COÖPERATIEVE RABOBANK U.A., VÄRDE
PARTNERS, INC., ASCENSION ALPHA
FUND LLC, ASCENSION HEALTH MASTER
PENSION TRUST, CAZ HALCYON
OFFSHORE STRATEGIC OPPORTUNITIES
FUND, L.P., CAZ HALCYON STRATEGIC
OPPORTUNITIES FUND, L.P., BROWN
UNIVERSITY, HCN LP, HALCYON
EVERSOURCE CREDIT LLC, HLF LP, HLDR
FUND I NUS LP, HLDR FUND I TE LP,
HLDR FUND I UST LP, HALCYON VALLÉE
BLANCHE MASTER FUND LP, BARDIN
HILL EVENT-DRIVEN MASTER FUND LP,
PRAETOR FUND I, A SUB FUND OF

1
  The Debtors, and, where applicable, the last four digits of each of their respective taxpayer identification numbers,
are as follows: Zohar III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-1, Corp. (3724), Zohar III,
Limited (9261), Zohar II 2005-1, Limited (8297), and Zohar CDO 2003-1, Limited (5119). The Debtors’ address is
c/o FTI Consulting, Inc., 1166 Avenue of the Americas, 15th Floor, New York, NY 10036.


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PRAETORIUM FUND I ICAV; HIRTLE
CALLAGHAN TOTAL RETURN OFFSHORE
FUND LIMITED; HIRTLE CALLAGHAN
TOTAL RETURN OFFSHORE FUND II
LIMITED; HIRTLE CALLAGHAN TRADING
PARTNERS, L.P.; AND THIRD SERIES OF
HDML FUND I LLC.,

                                      Appellees.                Re: Adv. D.I. 239 & 241


                     ORDER GRANTING MOTION
         FOR ORDER PURSUANT TO BANKRUPTCY RULE 9006-1(e)
   SHORTENING NOTICE PERIOD FOR PLAINTIFFS’ MOTION FOR A STAY
 PENDING APPEAL OF THE BANKRUPTCY COURT’S ORDER ON DEFENDANTS’
  MOTIONS TO DISMISS THE AMENDED COMPLAINT OF LYNN TILTON AND
 THE PATRIARCH & OCTALUNA ENTITIES FOR EQUITABLE SUBORDINATION

         Upon Patriarch’s Motion for Order Pursuant to Bankruptcy Rule 9006-1(e) Shortening

Notice Period for Plaintiffs’ Motion for a Stay Pending Appeal of the Bankruptcy Court’s Order

on Defendants’ Motions to Dismiss the Amended Complaint of Lynn Tilton and the Patriarch &

Octaluna Entities for Equitable Subordination, (the “Motion to Expedite”);1

         IT IS HEREBY ORDERED THAT:

         1.       The Motion to Shorten is hereby GRANTED as set forth herein.

         2.       The Hearing to consider the Stay Motion will be held on April 13, 2022

at 10:00 a.m. (ET). Objections to the relief requested in the Stay Motion shall be filed by April

7, 2022 at 4:00 p.m. (ET). Replies shall be filed by April 12, 2022 at 12:00 p.m. (ET).




Dated: April 1st, 2022                                         KAREN B. OWENS
Wilmington, Delaware                                           UNITED STATES BANKRUPTCY JUDGE

 1
     Capitalized terms not herein defined shall have the same meaning ascribed to them in the Motion to Expedite.

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